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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: )
) Chapter 11
STONEBRIDGE FINANCIAL CORP., )
) Case no, 15- ( )
Debtor. )
)

LIST OF EQUITY SECURITY HOLDERS

Registered Name and Address of Holder of Class of Number | Kind of
Security Security of Shares | Interest
See attached list.

DECLARATION UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORATION OR PARTNERSHIP

I, Joseph C. Petrone, Chief Financial Officer of Stonebridge Financial Corp,, the debtor in this
case, declare under penalty of perjury that I have read the foregoing list of Equity Security
Holders and that it is true and correct to the best of my information and belief.

Dated: June 18, 2015 Agl pete

J ofeph CJPetrone, Chief Financial Officer
Stonebridge Financial Corp.

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Registered Name and Address of Holder of Class of Number | Kind of
Security Security of Shares | Interest

See attached list.

JOHN BUTLER Preferred 655 Stock
1152 MEWS LANE
WEST CHESTER, PA 19382

CHRIS CUSATIS Preferred 158 Stock
58 CHERRY AVENUE
TRAPPE, PA 19426

GERALD PARSONS Preferred 4717 Stock
47 COLLINS MILL ROAD
CHESTER SPRINGS, P A 19425

LEO PARSONS Preferred 3668 Stock
1206 NOTTINGHAM LANE
CHESTER SPRINGS, PA 19425

J. RICHARD LEAMAN Preferred 262 Stock
317 BOOT ROAD
MALVERN, PA 19355

DANIEL J. MACHON, JR. Preferred 63 Stock
174 WAGON WHEEL ROAD
NORRISTOWN, PA 19403

THOMAS MURPHY III Preferred 577 Stock
806 GENERAL CORNWALLIS DRIVE
WEST CHESTER, PA 19382

CLAIR RAUBENSTINE Preferred 603 Stock
1271 BYBERRY ROAD
HUNTINGDON VALLEY, PA 19006

LEVI WINGARD Preferred 132 Stock
524 FERN CASTLE DRIVE
DOWNINGTOWN, PA 19335

TRISHIELD CAPITAL MANAGEMENT LLC Preferred 687 Stock
ROBERT L. HARTEVELDT, CEO
540 MADISON AVENUE

14TH FLOOR

NEW YORK, NY 10022

RICHARD D GROSS Common 12 Stock
172 AUGUSTA DR
HONEY BROOK PA 19344

THOMAS H GROSS Common 12 Stock
1821 PERTH AMBOY AVE
WHITING NJ 08759

THOMAS H GROSS & Common 16 Stock
BARBARA E CHESKI

1821 PERTH AMBOY AVE
WHITING NJ 08759

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WILLIAM J PIZZICHIL Common 50 Stock
31 MEREDITH DR
ELVERSON PA 19520

KRISTI RUSSELL Common 50 Stock
302 VILLAGE WALK
EXTON PA 19341

LORETTA C TAYLOR Common 62 Stock
322 MARSHALL STREET #3
KENNETT SQUARE PA 19348

LINDA L HARSH Common 100 Stock
1021 VILLAGE ROAD
LANCASTER PA 17602

DENISE M HETZEL Common 100 Stock
1005 FLAGG LANE

WEST CHESTER PA 19382

JEANNE L RAUBENSTINE CUST Common 100 Stock
ALEXA M KENNEDY

1271 BYBERRY ROAD
HUNTINGDON VALLEY PA 19006

JEANNE L RAUBENSTINE CUST Common 100 Stock
NICKOLAS C KENNEDY

1271 BYBERRY ROAD
HUNTINGDON VALLEY PA 19006

MARY KENNEY & Common 100 Stock
DONALD KENNEY

107 WYNNEWOOD DRIVE
COATESVILLE PA 19320

WILLIAM R LINSAO Common 100 Stock
3449 HARRINGTON DRIVE
ELLICOTT CITY MD 21042

JEANNE L RAUBENSTINE CUST Common 100 Stock
PATRICK S RAUBENSTINE

1271 BYBERRY ROAD
HUNTINGDON VALLEY PA 19006

JEANNE L RAUBENSTINE CUST Common 100 Stock
PAYTON N RAUBENSTINE

1271 BYBERRY ROAD
HUNTINGDON VALLEY PA 19006

VIRGINIA RICHARDSON Common 100 Stock
124 LAMBETH COURT
DOWNINGTOWN PA 19335

WILLIAM J SPRECHER & Common 100 Stock
DEIDRE M SPRECHER

PO BOX 16

101 OAK LEAF COURT
BOWMANSVILLE PA_ 17507

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KATHI E HOLAHAN Common 125 Stock
1355 ST LAWRENCE DR
PALM BEACH GARDEN FL 33401

JEFFREY L SHIRK & Common 150 Stock
JULIE A SHIRK

773 GLENWOOD DRIVE
EPHRATA PA 17522

RICHARD D GROSS & Common 158 Stock
MURIEL B GROSS
172 AUGUSTA DR
HONEY BROOK PA 19344

M TIMOTHY BENDER & Common 200 Stock
WILMA F BENDER

72 HIESTER AVE

NEW HOLLAND PA 17557

M LEWIS GABLE & Common 200 Stock
PATRICIA A GABLE

101 CENTER AVENUE
MORGANTOWN PA 19543

LARRY E HARSH & Common 200 Stock
LINDA L HARSH

1021 VILLAGE ROAD
LANCASTER PA 17602

JAMES K OVERSTREET Common 200 Stock
1330 CHARLESTOWN ROAD
PHOENIXVILLE PA 19460

JAMES OVERSTREET CUST Common 250 Stock
JAMES K OVERSTREET II
1330 CHARLESTOWN ROAD
PHOENIXVILLE PA 19460

ROBERT D SMILEY II Common 250 Stock
139 SHARPLESS STREET
WEST CHESTER PA 19382

JAMES B SPEERS & Common 250 Stock
JOANNE O SPEERS

104 VINCENT DR

HONEY BROOK PA 19344

MARGARET M UHLMAN Common 250 Stock

13 WHIPPLE FARM LANE
FALMOUTH ME 04105

ELIZABETH P GROUT & Common 300 Stock
PHILLIPP D GROUT

980 WING SONG ROAD
WEST CHESTER PA 19382

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BRIAN G NOON & Common 350 Stock
SHARON R NOON

4728 HOMEVILLE ROAD
COCHRANVILLE PA 19330

WILLIAM E SPRECHER & Common 450 Stock
GRACE A SPRECHER

136 CEDAR ST

PO BOX 19
BOWMANSVILLE PA_ 17507

DOWNINGTOWN NATIONAL BANK CUST Common 500 Stock
DAVID D DORSETT IRA
410 EXTON SQUARE PKWY
EXTON PA 19341

KENDRA W EBY Common 500 Stock
350 MOHNS HILL ROAD
REINHOLDS PA 17569

CECIL R MILLER JR & Common 500 Stock
VIVIAN C MILLER
5354 HOMEVILLE ROAD
OXFORD PA 19363

MARLENE F RICE Common 616 Stock
24 SADSBURY AVE
CHRISTIANA PA 17509

CHARLES SCHWAB & CO INC CUST Common 625 Stock
JAMES G PORTER JR IRA

ATTN SECURITIES OPERATIONS
2423 E LINCOLN DR

PHOENIX AZ 85016

CHARLES A DOBSON & Common 625 Stock
VIRGINIA A DOBSON

20 KRISTIN DRIVE
COATESVILLE PA 19320

MICHAEL P JAMES & Common 625 Stock
MICHELE B JAMES

105 LEWISVILLE CT
PHOENIXVILLE PA 19460

DIANE D FRAME CUST Common 625 Stock
WHITNEY WEINLEIN
938 BROWER RD
RADNOR PA _ 19087

MARJORIE L GROSS Common 725 Stock
168 ROSETREE LN
EXTON PA 19341

DOUGLAS A SINGO Common 921 Stock
133 WEST MULBERRY ST
KENNETT SQUARE PA 19348

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THOMAS L MENNIE & Common 931 Stock
PAMELA G MENNIE
15 MAUGER RD
ELVERSON PA 19520

GERALD J PARSONS Common 1111 Stock
47 COLLINS MILL RD
CHESTER SPRINGS PA 19425

JOHN J BUTLER IU Common 1250 Stock
647 FAWN LANE
KING OF PRUSSIA PA 19406

JANE B DAGGETT Common 1250 Stock
9 HUNT CLUB LANE
MALVERN PA_ 19355

RUDOLPH FEDOR JR Common 1250 Stock
69 WEST INDIAN LANE
NORRISTOWN PA 19403

JAMES J LENNON Common 1250 Stock
1545 BRIARWOOD LANE
POTTSTOWN PA 19464

BEVERLY A LOGAN & Common 1250 Stock
THOMAS M LOGAN

675 MARYDELL LANE
WEST CHESTER PA 19380

KATHLEEN M LOGAN & Common 1250 Stock
ANDREW S LOGAN

1245 HAMILTON DRIVE
WEST CHESTER PA 19380

RICHARD C UHLMAN Common 1250 Stock
13 WHIPPLE FARM LANE
FALMOUTH ME 04105

STEVEN J REEVES & Common 1349 Stock
SUSAN H REEVES

2105 DEER PATH RD
NOTTINGHAM PA 19362

MICHAEL R GROVE Common 1562 Stock
391 CLEARFIELD ROAD
SHIPPENSBURG PA 17527

GLENN L JOURDAN Common 1562 Stock
222 INDIAN CREEK DRIVE
MECHANICSBURG PA 17055

EQUITY TRUST CO CUST Common 1667 Stock
FRED GOEBERT IRA

1 EQUITY WAY
WESTLAKE OH 44145-1050

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FRANCIS A HALL INC Common 1703 Stock
ROBERT B HALL PRESIDENT

PO BOX 5010

WEST CHESTER PA 19380

SANDRA G KEGGINS Common 1833 Stock

2043 RIVER DOWNS CT
FOREST HILL MD 21050

CHARLES D KOCHKA Common 1875 Stock
1843 WINDOVR WAY
WEST CHESTER PA_ 19382-6932

NATIONAL FINANCIAL SERV LLC Common 1875 Stock
NEWPORT OFFICE CENTER III

499 WASHINGTON BLVD 5TH FLOOR
JERSEY CITY NJ 07310

JANET NITKA Common 1896 Stock
101 NORTH HILLTOP DR
CHURCHVILLE PA 18966

THOMAS R WILSON & Common 1987 Stock
KEVIN J RYAN

220 GAY STREET

WEST CHESTER PA 19380

CHARLES SCHWAB & CO INC CUST Common 2000 Stock
DAVID G DORSETT IRA
PO BOX 52013

PHOENIX AZ 85072-2013

ROBERT V D LUFT Common 2221 Stock
PO BOX 217

700 FAIRVILLE ROAD
CHADDS FORD PA 19317

MARY ANN M BATTY Common 2262 Stock
JAMES D BATTY

400 BROOK WOOD DRIVE
DOWNINGTOWN PA _ 19335

WEISS PECK&GREER CUSTODIA Common 2350 Stock
FBO L WILLIAM KAY III IRA
909 THIRD AVE

NEW YORK NY _ 10022

CHARLES SCHWAB & CO INC Common 2500 Stock
CUST JAMES G PORTER IRA
PO BOX 52013

PHOENIX AZ 85072

DONALD F U GOEBERT & Common 2500 Stock
REBECCA GOEBERT
3382 HARBOR RD SOUTH
TEQUESTA FL 33469

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MARK S LELINSKI Common 2500 Stock
1635 WHITLEY DR
HARRISBURG PA 17111

V BLAKE MARSHALL Common 2500 Stock
2410 DELANCEY PLACE
PHILADELPHIA PA 19103

AMANDA § PIOLA Common 2500 Stock
1511 UNIONVILLE WAWASET ROAD
WEST CHESTER PA 19382-6754

CHARLES C PIOLA III Common 2500 Stock
14 FRONT ST
EGG HARBOR TWP NJ 08234

CHRISTOPHER WEYH PIOLA Common 2500 Stock
1511 UNIONVILLE-WAWASET RD
WEST CHESTER PA 19382-6754

SARAH L PIOLA Common 2500 Stock
339 BARN HILL RD
WEST CHESTER PA 19382

PAUL N SCHREGEL Common 2500 Stock
19 SCHOOL LANE
MEDIA PA 19063

STEVEN M SEIDE Common 2500 Stock
7 DOWNING CIRCLE
DOWNINGTOWN PA 19335

CHARLES SCHWERTNER Common 2603 Stock
207 TINKER DR
CHESTER SPRINGS PA 19425

GEORGE H BANKS III & Common 2658 Stock
BARBARA B BANKS

15 ABELIA LANE
NEWARK DE 19711-3414

VINCENT T ROSATO JR & Common 2750 Stock
JOAN P ROSATO

32 PENNROSE TALLEY
BOOTHWYN PA 19061

RICHARD M PARSONS Common 2840 Stock
1303 HILLCREST ROAD
WEST CHESTER PA 19380

GEORGE A RAPP & Common 2974 Stock
TERRI RAPP

2609 RADCLIFFE RD
BROOMALL PA 19008-2116

JAY W CLEVELAND JR & Common 3125 Stock
WILLIAM T KIRCHHOFF JR
1120 FOX CHAPEL RD
PITTSBURGH PA 15238

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JANNEY MONTGOMERY SCOTT LLC CUST | Common 3125 Stock
HENDRIKA A CORNWELL IRA
1801 MARKET ST
PHILADELPHIA PA 19103

SANDRA H KALEMJIAN Common 3125 Stock
400 S CHURCH STREET
WEST CHESTER PA 19382

KAREN NUGENT Common 3408 Stock
46 COLLLINS MILL ROAD
CHESTER SPRINGS PA 19425

RUSSELL W CARLOW & Common 3750 Stock
CAROLINE W CARLOW
30 JACQUELINE CIRCLE
GLENMOORE PA_ 19343

ANTHONY MORRIS & Common 3750 Stock
ELIZABETH W MORRIS

700 NORTH WALNUT STREET
WEST CHESTER PA 19380-2352

GREGORY K GOEBERT Common 3935 Stock
317 N LAWRENCE ST
PHILADELPHIA PA 19106

LEWIS R FRAME JR CUST Common 3958 Stock
LEWIS R FRAME III
PO BOX 58

SUPLEE PA 19371

RONALD C NAGLE & Common 4125 Stock
ANN G NAGLE

501 W PLEASANT GROVE ROAD
WEST CHESTER PA 19382

ROBERT B HALL Common 4687 Stock
PO BOX 5010
WEST CHESTER PA 19380

WILLIAM L WHITE UI Common 4700 Stock
120 PEQUEA AVENUE

PO BOX 279

HONEY BROOK PA 19344

JAMES G READING Common 4879 Stock
365 VALLEY PARK ROAD
PHOENIXVILLE PA 19406-2785

G JOSEPH BENDINELLI JR Common 5000 Stock
1030 LITTLE RIDGE DRIVE
WEST CHESTER PA 19382

RONALD L BURNHEIMER Common 5000 Stock
1634 CRICKET TERRACE
NORRISTOWN PA 19403

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RICHARD W CAMPBELL & Common 5000 Stock
JEANNINE C CAMPBELL
12 BUCK RUN
REINHOLDS PA 17569

EDWARD D JONES & CO CUST Common 5000 Stock
WALTER L LABS IRA

PO BOX 66533

ST LOUIS MO 63166-6533

FREDERICK L MYERS Common 5000 Stock
RETIREMENT PLAN SEP IRA
320 ALBEMARLE GROVE
WEST CHESTER PA 19380

HOWARD A WILLIS & Common 5113 Stock
GENEVIEVE D WILLIS
1753 ZEPHYR GLEN CT
WEST CHESTER PA 19389

C BARRY BUCKLEY Common 5375 Stock
429 HOMESTEAD DRIVE
WEST CHESTER PA 19382

JOHN WELLHAUSEN & Common 5500 Stock
DONNA WELLHAUSEN
408 CRAIG COURT

MT PROSPECT IL 60056

JOAN L KISTLER Common 6250 Stock
301 CREEK CROSSING LANE
CHESTER SPRINGS PA 19425

JESSE H RIEBMAN & Common 6250 Stock
SUSAN C RIEBMAN

733 S SETTLERS CIRCLE
WARRINGTON PA_ 18976

BRUCE A WEST & Common 6250 Stock
ALEXANDRA WEST

616 RESERVOIR ROAD
WEST CHESTER PA 19380

FREDERICK L MYERS SEP/IRA Common 6363 Stock
302 ALBERMARLE GROVE
WEST CHESTER PA 19380

LEWIS R FRAME JR TR Common 7073 Stock
LEWIS R FRAME III
PO BOX 58

SUPLEE PA 19371

K5W LP Common 7500 Stock
4812 DREXELBROOK DRIVE
DREXEL HILL PA 19026

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CHARLES SCHWAB & CO CUST Common 7500 Stock
PETER J STACK IRA

100 WEST LANCASTER AVENUE
WAYNE PA 19087

JOSEPH E BRION Common 7812 Stock
922 SCONNELTOWN ROAD
WEST CHESTER PA 19382

HARRY R TYLER & Common 8795 Stock
AGATHA C TYLER

1516 RICHARD DRIVE
WEST CHESTER PA 19380

FRED B GOEBERT Common 8831 Stock
615 WILLOWBROOK LANE
WEST CHESTER PA 19382

IVAN KAPLAN & Common 9375 Stock
LISA K KAPLAN

111 WEST MARKET STREET
WEST CHESTER PA 19382

MICHAEL L BARTSCH & Common 11362 Stock
SOPHIA V BARTSCH

1171 HARMONY HILL ROAD
DOWINGTOWN PA 19335

CHRISTOPHER J KNAUER Common 11363 Stock
400 DUTTON MILL ROAD
MALVERN PA _ 19355

NANCY H KNAUER Common 11363 Stock
1445 JOHNNYS WAY
WEST CHESTER PA_ 19380

MICHAEL J STEFONICK Common 11363 Stock
86 CROSSWINDS DR
HILTON HEAD ISLAND SC
29926-2362

ROBERT M WILLIAMS TR Common 11363 Stock
ROBERT M WILLIAMS 2002 TRUST
BOX 292

BREWSTER MA 02631

CHARLES C PIOLA JR & Common 12500 Stock
JUNE W PIOLA

1511 UNIONVILLE-WAWASET RD
WEST CHESTER PA_ 19382

FRANK M FOSTER JR Common 15000 Stock
PO BOX 2762
LAKELAND FL 33806

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CAROLINE S$ LLOYD & Common 15000 Stock
JAMES E LLOYD

45 HIGHFIELD DRIVE
FALMOUTH MA 02540

STEVEN J KELLY Common 15625 Stock
PATRICIA KELLY

1000 LAMBOURNE ROAD
WEST CHESTER PA 19382-8021

BUCK SCOTT Common 15876 Stock
408 MCCLENAGHAN MILL ROAD
WYNNEWOOD PA _ 19096

RICHARD V PALM Common 16773 Stock
PO BOX 131

CUSHING ME 04563

CLAIR M RAUBENSTINE Common 16912 Stock

1271 BYBERRY ROAD
HUNTINGDON VALLEY PA 19006

LEWIS R FRAME JR Common 18054 Stock
PO BOX 58
SUPLEE PA 19371

LYNN V D LUFT Common 18125 Stock
700 FAIRVILLE ROAD
BOX 217

CHADDS FORD PA 19317

LEVI WINGARD & Common 18923 Stock
MARCELLENE WINGARD
524 FERNCASTLE DRIVE

DOWINGTOWN PA 19335

GEORGE N BENJAMIN III & Common 19013 Stock
MARGARET M BENJAMIN CO TTEES
GEORGE MARGARET BENJAMIN
JOINT REVOC TR U/A DTD AUG 8TH
2005

11480 S PINE ST

OLATHE KS 66061

EDWARD H MARGOLIS Common 19978 Stock
1 ITHAN WOODS LANE
VILLANOVA PA 19085

BUTLER INVESTMENT ASSETS INC Common 22870 Stock
1152 MEWS LANE

WEST CHESTER PA 19382

JOSEPH E BRION & Common 23522 Stock
GLENDA K BRION

922 SCONNELTOWN ROAD
WEST CHESTER PA 19382

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PERSHING LLC Common 23530 Stock
FBO JACK GROSSMAN IRA

191 PRESIDENTIAL BOULEVARD
SUITE W-1

BALA CYNWYD PA 19004

JAMES A COCHRANE & Common 25000 Stock
SARAH G COCHRANE
651 NANTMEAL ROAD
GLENMOORE PA 19343

JAMES J FORESE Common 25000 Stock
2630 GREY OAKS DRIVE N #15
NAPLES FL 34105

TIMOTHY CORNWELL Common 25099 Stock
229 OLD FORGE CROSSING
DEVON PA 19333

VITO DELISI Common 25110 Stock
3883 VINCENT DR
COLLEGEVILLE PA 19426

INVESTORS INSURANCE GROUP Common 26725 Stock
615 WILLOWBROOK LANE
WEST CHESTER PA 19382-5578

JEANNE L RAUBENSTINE Common 27863 Stock
1271 BYBERRY ROAD
HUNTINGDON VALLEY PA 19006

L WILLIAM KAY II Common 28921 Stock
4812 DREXELBROOK DRIVE
DREXEL HILL PA 19026

ALLISON K O'BRIEN Common 31250 Stock
812 SHADOW FARM ROAD
WEST CHESTER PA 19380

MLPF&S CUSTODIAN Common 31250 Stock
FPO FREDERICK E SCHEA IRA
312 UPPER STUMP ROAD
CHALFONT PA 18914

KIMBERLY K SCHNEIDER Common 31250 Stock
1713 BUTTERNUT CIRCLE
WEST CHESTER PA 19382

JOSEPH C SPADA & Common 31638 Stock
KATHY D SPADA

10 WOODS EDGE RD
WEST CHESTER PA 19382

J RICHARD LEAMAN JR Common 36455 Stock
317 BOOT ROAD
MALVERN PA 19355

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ROBERT G FLOSDORF Common 37018 Stock
PO BOX 351
SKIPPACK PA 19474

KATHLEEN A SCHEA Common 37500 Stock
312 UPPER STUMP ROAD
CHALFONT PA 18914

SAMUEL H JONES JR Common 41597 Stock
1176 U S ROUTE 40

PO BOX 169
WOODSTOWN NJ_ 08098

JOHN J BUTLER Common 41990 Stock
1152 MEWS LANE
WEST CHESTER PA 19382-2077

GEORGE E AGLE Common 44792 Stock
205 WEST VIRGINIA AVENUE
WEST CHESTER PA 19280

ROBERT V D LUFT & Common 50417 Stock
LYNN V D LUFT

700 FAIRVILLE ROAD
BOX 217

CHADDS FORD PA 19317

ERIC M GOEBERT Common 69375 Stock
321 SOUNDVIEW AVE
STAMFORD CT 06902-7118

THOMAS B MURPHY III Common 82859 Stock
806 GENERAL CORNWALLIS DRIVE
WEST CHESTER PA _ 19382

FREDERICK E SCHEA Common 87250 Stock
312 UPPER STUMP ROAD
CHALFONT PA 18914

DONALD F U GOEBERT Common 112794 Stock
3382 HARBOR ROAD SOUTH
TEQUESTA FL 33469

LEO D PARSONS & Common 126039 Stock
MARYANNE PARSONS

1206 NOTTINGHAM LANE
CHESTER SPRINGS PA 19425

LEWIS R FRAME JR & Common 141667 Stock
DIANE D FRAME

PO BOX 490

HONEY BROOK PA 19344

REBECCA GOEBERT Common | 260112 _| Stock
3382 HARBOR ROAD SOUTH
TEQUESTA FL 33469

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GERALD J PARSONS &
ELEANOR PARSONS

47 COLLINS MILL RD
CHESTER SPRINGS PA 19425

Common

285675

Stock

CHESTER COUNTY FUND
615 WILLOWBROOK LANE
WEST CHESTER PA _ 19382

Common

313282

Stock

RUTH A FRAME

PO BOX 490

1075 SUPLEE ROAD
HONEY BROOK PA 19344

Common

536014

Stock

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